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                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )        1:01-cr-5317 OWW
                    Plaintiff,     )
     vs.                           )
                                   )        ORDER FOR RETURN OF
PATRICK MATSUDA,                   )        NOTE AND DEED OF TRUST
                                   )
                    Defendants.    )
___________________________________)


     The above-named defendant having surrendered to the custody

of the Bureau of Prisons as directed;

     IT IS HEREBY ORDERED that the Note and Deed of Trust

posted in this matter be returned to the surety.



Dated: _January 12, 2006              _/s/ OLIVER W. WANGER_________
                                      OLIVER W. WANGER
                                      United States District Judge
